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           Exhibit 4
           6/29/2018 – Transcript of the Contempt Hearing
           Where the City disclosed un-redacted copies of the records
           deemed non-exempt on 5/3/18.

           Rudd v. Norton Shores Michigan FOIA Litigation
           17-004334-CZ 14th Circuit Court, Hon. Timothy G. Hicks
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                                   STATE OF MICHIGAN


               IN THE CIRCUIT COURT FOR THE COUNTY OF MUSKEGON



           DANIEL RUDD,

                              Plaintiff,              File No. 17-004334-CZ
               vs.
                                                      MOTION
           CITY OF NORTON SHORES,

                              Defendant.




                                       R E C O R D

                  of the proceedings had in the above-entitled

                  cause on the 29th day of June, 2018, before

                  HON. TIMOTHY G. HICKS, Circuit Judge.


           APPEARANCES:

           The Plaintiff appeared in person,
           but was not represented by counsel;

           LISA A. HALL, J.D. (P70200)
           Attorney at Law
               on behalf of the Defendant.




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 1                                                 Friday, June 29, 2018

 2                                                  At 1:37:14 P.M..

 3                                                  Muskegon, Michigan

 4                                     R E C O R D

 5                         THE COURT:       File Number 17-4334-CZ, Daniel

 6          Rudd versus the City of Norton Shores.              Mr. Rudd, as

 7          always, represents himself.            Ms. Hall represents the

 8          City and Chief Gale sits next to her.

 9                         We're dealing with the Plaintiff's motion

10          for an order finding the City in contempt of the

11          Court's previous order.          Mr. Rudd, go ahead.

12                         MR. DANIEL RUDD:        Thank you, Your Honor.

13                         THE COURT:       Let me ask --      Ms. Hall, let

14          me ask you this.       You aren't prepared just to hand

15          over non-redacted pages right now, are you, to

16          obviate this -- these proceedings?

17                         Let me say this to you.          My May 3 order

18          essentially conceded that some work remained to be

19          done, and so you then duly submitted to me a good

20          index and well-organized exhibits.

21                         MS. HALL:       I did my best.      Thank you.     It

22          took awhile, but I --

23                         THE COURT:       Well, I've -- I've pretty much

24          gone through it.

25                         MS. HALL:       Okay.


                                       3
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 1                         THE COURT:       And so I think for 653 pages

 2          contained in these notebooks, the City is in pretty

 3          good shape.      All right?      I guess the math is a little

 4          bit off because I think that you had the non-redacted

 5          46 pages --

 6                         MS. HALL:       I did.

 7                         THE COURT:       -- or so in here.

 8                         MS. HALL:       I might even have both --

 9                         THE COURT:       Yeah.

10                         MS. HALL:       -- 'cause I --

11                         THE COURT:       And that was perfect.

12                         MS. HALL:       Yep.

13                         THE COURT:       That's what I want you to do.

14          But I'm saying when I say 653 then there's a little

15          bit of overlap.

16                         So these contempt proceedings concerned 36

17          pages.

18                         MS. HALL:       Yep.

19                         THE COURT:       Okay.

20                         MS. HALL:       And I've got --      Yes.    Yep.

21          Your Honor, if I may, and I can -- it's really my --

22          in my response, the order that was issued by the

23          Court wasn't very clear, would it be redacted or

24          unredacted copies of these complaints that we had to

25          turn over.


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 1                         THE COURT:       Well, we'll talk about that in

 2          a minute.     But I'm saying as you walk in here today,

 3          you're unwilling to just hand over to Mr. Rudd

 4          non-redacted copies?

 5                         MS. HALL:       If the Court would like to

 6          clarify its order and say they have to be unredacted

 7          --

 8                         THE COURT:       They do.

 9                         MS. HALL:       -- I do have them here today.

10                         THE COURT:       They do.

11                         MS. HALL:       I do have them here today, Your

12          Honor.

13                         THE COURT:       All right.

14                         MS. HALL:       And I'm willing and ready, if

15          that's what the Court orders, then that is what we

16          are willing to comply with.           We are not --

17                         THE COURT:       Would you please --

18                         MS. HALL:       -- looking to defy a court

19          order by any means.        And so in my response, Your

20          Honor, not to be too --          And I should be standing.            I

21          apologize.

22                         Not to be too --

23                         THE COURT:       Obtuse?

24                         MS. HALL:       Yeah, I guess.      But, Your

25          Honor, Mr. Rudd time and time again when we were here


                                       5
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 1          said:    All I'm looking for is the basic nature of the

 2          complaint.     I don't need the names.          And so --

 3                         THE COURT:       Ms. Hall --

 4                         MS. HALL:       Yes.

 5                         THE COURT:       -- if you're willing to --            If

 6          you need to consult with the Chief, go ahead.

 7                         MS. HALL:       Yes.

 8                         THE COURT:       If you're willing to take that

 9          envelope and give it to Mr. Rudd, I think we're

10          probably done here today.

11                         MS. HALL:       Okay.   Your Honor --

12                         THE COURT:       You want to speak to him for a

13          minute before we do that?

14                         MS. HALL:       Do you -- do you want to talk?

15                         THE COURT:       I mean, you guys should --            If

16          you want to talk --

17                         MS. HALL:       Yes, let's -- let's just go out

18          --

19                         THE COURT:       -- you should -- you should

20          move away.

21                         MS. HALL:       -- just go out in the hall for

22          just a minute.

23                         THE COURT:       You can go in the jury room,

24          if you want to.

25                         MS. HALL:       Okay.


                                       6
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 1                         THE COURT:       That's available.

 2                        (Whereupon, proceedings recessed

 3                         at 1:38:55 P.M.;         proceeding

 4                         resumed at 1:42:03 P.M..)

 5                         THE COURT:       Okay.

 6                         MS. HALL:       Your Honor, I had a chance to

 7          talk to the Chief and it's the position, if the Court

 8          orders them, we are willing to do so.              Because the

 9          order wasn't clear --          And I don't know if obtuse is

10          the right word.       It's just it didn't clarify were

11          they redacted or unredacted.            And because Mr. Rudd

12          indicated he didn't need the names, we were

13          protecting the citizens' privacy and the officers'

14          privacy information.

15                         And as mister -- as the Chief indicated to

16          me in the jury room, he's got many contracts that are

17          in issue.     So if we get an order from the Court, Your

18          Honor, saying they need to be unredacted with their

19          personal information, I am willing, ready and able to

20          turn that 36 pages over today.

21                         THE COURT:       Well --

22                         MS. HALL:       I did bring that.

23                         THE COURT:       Yeah.     The 36 pages are

24          exactly as they were presented to the City.                I

25          thought you said something about redacted, 30 seconds


                                       7
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 1          ago.

 2                         MS. HALL:       Oh, I apologize.      I have

 3          unredacted ones with their -- people's personal

 4          information.

 5                         THE COURT:       Okay.   So they're -- quote:

 6          Clean ones?

 7                         MS. HALL:       They're clean, with the

 8          exception of those portions where there's some

 9          investigation that started on the bottom, as I

10          addressed in my response brief.

11                         THE COURT:       Well, wait a minute.        So the

12          -- the non-redacted copies you have today are still

13          redacted?

14                         MS. HALL:       Well, the portion --        Not with

15          the names or the officers' names being redacted, but

16          a --    You know how in my index I indicated how -- and

17          in my response, the initial complaint sometimes start

18          investigations on the same page.            And so that's why

19          on just like two or three of them, in my response, I

20          address the Court, those were investigation portions

21          that I redacted that --

22                         THE COURT:       May I see the ones that you're

23          preparing to deliver?

24                         MS. HALL:       Absolutely, Your Honor.        I have

25          them right here (indicating).           They're marked with


                                       8
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 1          (indicating) --

 2                         (Whereupon, proceedings recessed

 3                          at 1:43:45 P.M.; proceedings

 4                          resumed at 1:46:29.)

 5                          THE COURT:     Mr. Rudd?

 6                          MR. DANIEL RUDD:       Thank you, Your Honor.

 7          I would --      I would first disagree with Ms. Hall's

 8          assertion that statements that were part of arguments

 9          designating, you know, the goal of this inquiry is to

10          find the nature.        Those statements also included to

11          find out how these were dealt with, how they were

12          resolved, to -- it was -- it was a larger scope than

13          that.    And on a bird's-eye view level, it's -- it

14          doesn't make a lot of sense to suggest that arguments

15          made during the course of a proceeding will somehow

16          limit the scope of the order's authority.

17                          THE COURT:     I perceive today's work to be

18          pretty narrow.       We're trying to figure out whether

19          the City is in contempt of the Court's order.                 I'm

20          not too concerned about whether they were in contempt

21          of what they thought you wanted.

22                          MR. DANIEL RUDD:       Well, I guess that's

23          what I'm saying.

24                          THE COURT:     Well --

25                          MR. DANIEL RUDD:       Any law --


                                       9
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 1                          THE COURT:      -- I agree with you.

 2                          MR. DANIEL RUDD:       Any lawful order --

 3                          THE COURT:      Or what you conceded during

 4          oral argument.       I think I --       I'm looking at my order

 5          and I'm trying to figure out if the City is in

 6          contempt of the order --

 7                          MR. DANIEL RUDD:       Okay.

 8                          THE COURT:      -- period.     I think that's the

 9          narrow issue we have today.

10                          MR. DANIEL RUDD:       I would say that it --

11          that the City is absolutely wrong to say that the

12          opinion and final order is silent as to further

13          redactions on the complaints against the City.                 And

14          it also says that the Court made a decision about a

15          class of records but didn't say anything about

16          whether or not there was exemptible material in

17          there, and now they're raising the privacy exemption,

18          which is the one that requires a showing of clearly

19          unwarranted invasion of privacy.             A heavy burden to

20          meet, one that's rarely been met on disclosing names,

21          even names of people in these same circumstances.

22                          There's lots of case law on that, but the

23          point of the matter is it's ridiculous to suggest

24          that you can litigate a FOIA suit, ask the court

25          several times for summary disposition, advise the


                                       10
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 1          court several times that, yes, this is ripe for a

 2          decision, receive a detailed opinion which reflects a

 3          thorough in-camera review of each and every document,

 4          then give specific findings.            And in this case, the

 5          specific nature of the findings referencing specific

 6          content saying, "I'm not convinced that these harms

 7          will occur", saying, "these are not exempt records",

 8          that settles the question.           So definitely in

 9          contempt.

10                          And the ridiculous result that would occur

11          if this type of thing could happen is you can go

12          through all those steps of litigation, challenge a

13          disclosure order all the way up to the Supreme Court

14          with emergency motions and the whole shebang.

15                          THE COURT:      Which the City did here.

16                          MR. DANIEL RUDD:       Which the City did here.

17          The Supreme Court did not --            The -- the Supreme

18          Court indicated that the process followed by the

19          Court here and the findings didn't require any

20          further review.        And I would say the Court afforded

21          those records the maximum level that ever gets put

22          into a FOIA determination.           It's a bulletproof

23          opinion that's already been vetted by the Supreme

24          Court.

25                          So to say that they can come back down and


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 1          be like, well, okay, that settles that, now let's

 2          peel back another layer and we'll do another round of

 3          exemptions on a more narrow point, well, they should

 4          have claimed the narrow exemptions from the

 5          beginning.

 6                          There's kind of an issue -- preclusion

 7          issue here, too, where they failed to raise these

 8          issues, the privacy exemption, in the trial court,

 9          they failed to raise it in the appellate court.                  And

10          ordinarily, raise or waive would preclude that.                  But

11          on FOIA determinations, sometimes different

12          exemptions are considered in the appellate courts.

13          That didn't occur.

14                          So to come back now and say, okay, we're

15          going to unilaterally do another round, it -- the

16          City has no --       Once this Court has completed the

17          process which is set forth by the statute, the City

18          is relieved of that custodial function that they were

19          entrusted to on a temporary basis to make initial

20          determinations, but then the -- the statute has a

21          process.     The process ran its course.           The records

22          were deemed exempt.         The Court did carve out

23          exemption -- what could be redacted or separated.

24          The Court made carve outs and even used singular

25          language.      I'm going to do one -- one --           I'm going


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 1          to carve out one class of records is what the order

 2          said.

 3                          So I don't remember the Latin word for

 4          this, but it's like the -- the specific --

 5                          THE COURT:       If the Court mentioned if

 6          something presumes the exclusion of other stuff.

 7                          MR. DANIEL RUDD:       Yeah, the specific

 8          mention of it.       So it -- it would open up just a huge

 9          door to mischief if a public body could delay

10          disclosure of a record for 18 months, go through the

11          whole process, do the whole thing.             Most people

12          aren't going to even be able to hang in litigation

13          like this.      I could never afford to have a lawyer do

14          it.     So that would really defy the purpose of the

15          FOIA, which is that the citizens participate in

16          government.      That needs to be timely.

17                          THE COURT:       Thank you.

18                          MR. DANIEL RUDD:       Thank you, Your Honor.

19                          THE COURT:       Ms. Hall?

20                          MS. HALL:       Thank you, Your Honor.        As

21          discussed in my response brief to the Order to Show

22          Cause as to why the City shouldn't be in contempt,

23          Your Honor, the order is silent in terms of how the

24          citizen complaints should be turned over in a

25          redacted or unredacted form.            When we spoke at length


                                       13
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 1          during these hearings, and it's mentioned in Chief

 2          Gale's affidavit, Your Honor, that even turning over

 3          the unredacted copies would have the chilling effect.

 4          And it's -- it's started already.

 5                          THE COURT:       The Court rejected --        This

 6          Court rejected that position.             Right?

 7                          MS. HALL:       The Court rejected that -- that

 8          turning over the citizen complaints, the category of

 9          these documents, Your Honor, but not necessarily that

10          inside that citizen complaint there --

11                          THE COURT:       And the Court of Appeals --

12                          MS. HALL: -- could be private information.

13                          THE COURT:       I understand the appeal is

14          still pending, but the Court of Appeals denied leave.

15          Right?

16                          MS. HALL:       For the state --

17                          THE COURT:       And --

18                          MS. HALL:       -- to turn over.

19                          THE COURT:       And that issue was raised with

20          the Court of Appeals?

21                          MS. HALL:       Not specifically --

22                          THE COURT:       Chief Gale's affidavit was

23          mentioned in the Court of Appeals, wasn't it?

24                          MS. HALL:       It did get brought.

25                          THE COURT:       All right.    And the Supreme


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 1          Court denied leave.         Correct?

 2                          MS. HALL:       Yes.

 3                          THE COURT:       And you're -- you would agree

 4          that the urgency for the appellate review was to

 5          prevent the loss of confidentiality?

 6                          MS. HALL:       Yes, Your Honor.

 7                          THE COURT:       And once the confidentiality

 8          is lost, it cannot be regained.

 9                          MS. HALL:       And it's already been --

10          Confidentiality has already been lost with the

11          redacted complaints.         He's already been contacting

12          people.

13                          THE COURT:       Your position is that because

14          the Court didn't forbid redaction, you can do it?

15                          MS. HALL:       Yes, Your Honor.

16                          THE COURT:       But the Court's order didn't

17          forbid you from submitting complaints in Greek, did

18          it?

19                          MS. HALL:       No.

20                          THE COURT:       Or in code?

21                          MS. HALL:       No, it -- it --

22                          THE COURT:       My point is that we could be

23          doing this for the next three years because every

24          time the Court orders the City to do something, you

25          could come back and say:              Well, you didn't forbid us


                                       15
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 1          from punctuating it in such a way.             You didn't forbid

 2          us from printing it on black paper.              Correct?

 3                          MS. HALL:       Your Honor, I think that that's

 4          not --

 5                          THE COURT:       You think the Court --        The

 6          Court's order said to provide Rudd with the initial

 7          complaints filed against Norton Shores.

 8                          MS. HALL:       The Court --

 9                          THE COURT:       What is ambiguous about that?

10                          MS. HALL:       It just meant that category of

11          documents, Your Honor.           Our position is that --

12                          THE COURT:       Yes, the documents.

13                          MS. HALL:       -- it was exempt.      The category

14          of documents were no -- not exempt under the personal

15          law enforcement agency record exemption.               And so

16          that's what the holding was.            You did the balancing

17          test, you said it doesn't fall under that exemption,

18          so we turned the citizen complaints over.

19                          THE COURT:       No.   You turn over all citizen

20          complaints.

21                          MS. HALL:       Well, Mr. Rudd indicated he

22          didn't need the names.

23                          THE COURT:       But we're not here complying

24          with what Mr. Rudd seeks, are we?

25                          MS. HALL:       Well, that was all --


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 1                          THE COURT:       We're here to figure out

 2          whether you complied with the court order.

 3                          MS. HALL:       But my understanding was, Your

 4          Honor, is we had these hearings.             The order was

 5          considering the testimony in terms of what Mr. Rudd

 6          needed.     I mean, the Court went to great lengths

 7          asking him:      What are you looking for?           How would my

 8          order look?      What does the -- what does the --             What

 9          do you want --       What are you thinking an order should

10          look like?      What do you think the citizen complaints

11          should be?      And he said in there:         I don't need the

12          names, Your Honor.        I'm looking for the underlying

13          nature of the complaint.

14                          THE COURT:       So you thought it was in the

15          City's prerogative to take the court order, to adjust

16          it stylistically to fit what Mr. Rudd said in his

17          arguments here and then to redact them in such a way

18          as to provide that result?

19                          MS. HALL:       Your Honor, I don't believe the

20          Court -- that order indicated we couldn't provide

21          them redacting the privacy information.

22                          THE COURT:       Like I said, the court order

23          didn't say you couldn't submit them in Greek, either,

24          or Spanish or French.

25                          MS. HALL:       That's -- that's accurate.         But


                                       17
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 1          they are what they are in the file and so, I mean,

 2          there was privacy information in there.               And to turn

 3          over the name of a woman whose --

 4                          THE COURT:       But those are all arguments

 5          that you made to the -- to me before, didn't you?

 6                          MS. HALL:       In redacted and unredacted

 7          format.     I mean, that was --           We argued were citizen

 8          complaints a part of the personal law enforcement

 9          records file.       We argued, you know, doing the

10          balancing test both ways, redacted or unredacted,

11          Your Honor, it would -- it could have the chilling

12          effect.

13                          That was --       It was never decided that the

14          privacy information could not be redacted.                And I am

15          willing --

16                          THE COURT:       Did the City ever raise that

17          issue in the pre-order proceedings?

18                          MS. HALL:       Like in their response to FOIA?

19                          THE COURT:       Right.    Right.

20                          MS. HALL:       I do not believe so.       I was a

21          --

22                          THE COURT:       You got it.     City never raised

23          that issue.      I don't think the City ever raised the

24          issue about particular information in the citizen

25          complaints to provide a second reason for exemption.


                                       18
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 1                          MS. HALL:       Well, I believe they just

 2          denied it under the personal records of law -- the

 3          personal records.

 4                          THE COURT:       And I think the City

 5          repeatedly told the Court that this matter was

 6          positioned for summary disposition.

 7                          MS. HALL:       Yes, Your Honor.

 8                          THE COURT:       Didn't it?    Okay.

 9                          MS. HALL:       And I will say, Your Honor, I

10          do -- those documents that I provided you with the

11          redactions, the six that have them, so I have the

12          unredacted with you so you can see.              And mister --

13          the Chief is here today.           But what happened is is

14          some of those complaints are generated from a phone

15          call.    And the Chief takes it down and starts typing,

16          and so then the investigating officer starts that

17          investigation right on the same page, and so that's

18          why that portion is redacted.            And I indicated those

19          numbers in the response brief.            We're not trying to

20          hide anything.

21                          I'm here today with the unredacted copy.

22          If the Court could indicate they have to be

23          unredacted, we are willing, ready and able to give

24          those names over.        But without that, the City has had

25          a lot of --


                                       19
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 1                          THE COURT:       Well, you'd have --       If I

 2          ordered you to do that right now, you'd have to do

 3          further adjustment of the six or seven pages that

 4          still contain redactions, wouldn't you?

 5                          MS. HALL:       No, because those are

 6          investigate -- that's the investigative reports that

 7          you -- you said is exempted.            So no, I wouldn't.

 8          That's -- that's investigatory work.              That's where

 9          they start saying:        I contacted so and so, or here's

10          the items that we're going to be reviewing.                That was

11          all investigation.        I have the unredacted copies with

12          you.

13                          THE COURT:       Your brief makes the point

14          that the Court's Order to Show Cause didn't specify

15          whether this was -- could be a criminal or civil

16          contempt.      You're right.       And that Mr. Rudd prepared

17          that order, presented it to the Court and it was my

18          fault for not --

19                          MS. HALL:       Checking (unintelligible).

20                          THE COURT:       (Unintelligible.)

21                          MS. HALL:       I --

22                          THE COURT:       These --    Actually, these

23          issues are more complicated than people think.                 If

24          you watch TV shows, you think the judge can just walk

25          in and say 30 days and that's the end of it, but it's


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 1          not.

 2                          MS. HALL:       If the Court wants me to turn

 3          them over unredacted, I have them here.               Those ones I

 4          have today here are unredacted, Your Honor.                Those

 5          have investigation notes on there.             I don't know how

 6          to separate that off.           The City has never had this

 7          request.

 8                          THE COURT:       Criminal concept is designed

 9          to punish past behavior, generally speaking.

10          Correct?

11                          MS. HALL:       Yes.

12                          THE COURT:       And civil contempt would be an

13          order which is designed to coerce the City to comply

14          within a certain deadline to be set probably in a few

15          days.    Correct?

16                          MS. HALL:       Yes, Your Honor.

17                          THE COURT:       Okay.   If the Court --       And we

18          can't get there today because there are procedures

19          that have to be articulated.             But if -- if you look

20          at the criminal contempt cases, they talk about the

21          court has to advise the witness of his or her Fifth

22          Amendment rights.        The court has to afford the

23          witness an opportunity to have -- to hire counsel.

24          The standard for contempt is beyond a reasonable

25          doubt.     That's pretty high.


                                       21
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 1                          My question is in a -- in a setting like

 2          this, who is the person to whom the court would

 3          administer those rights?           I mean, lots of contempt

 4          proceedings involve child custody cases where dad is

 5          just refusing to bring the kids back on time or --

 6                          MS. HALL:       Yeah.

 7                          THE COURT:       -- somebody took the kids to

 8          Nebraska for the summer.           So I'm saying in this kind

 9          of setting, who is the condemnor -- contemptor?                  You?

10                          MS. HALL:       I --

11                          THE COURT:       The Chief?

12                          MS. HALL:       I --

13                          THE COURT:       Mr. Bolgren?

14                          MS. HALL:       I haven't had a chance --

15                          THE COURT:       I mean, who is the person to

16          whom I would administer those Fifth Amendment rights?

17                          MS. HALL:       Your Honor, I didn't know this

18          was a criminal contempt hearing so I haven't looked

19          into that.

20                          THE COURT:       Well, it's --

21                          MS. HALL:       But I can brief --

22                          THE COURT:       It's not.    And, I mean, I

23          can't do any criminal contempt work here today and,

24          frankly, I probably can't do the civil, either.                  I

25          think we'd have to set up some rules and see where we


                                       22
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 1          go from here.

 2                          MS. HALL:       Well --

 3                          THE COURT:       But I thought while you were

 4          here, I would solicit your advice.

 5                          MS. HALL:       And that's exactly right.         I

 6          don't know which type of proceeding it was and I'm

 7          not sure, you know, who that would be.

 8                          THE COURT:       You're at a disadvantage today

 9          because --

10                          MS. HALL:       You can take me, mister --

11                          THE COURT:       -- the Court's order --

12                          MS. HALL:       You're taking me.      I don't -- I

13          don't know, you know, who you would administer those

14          rights on, but we are willing, ready and able to

15          comply if the Court orders.           Again, we have to

16          protect the rights of the officers, these people in

17          the complaints.

18                          THE COURT:       You said that a lot of times.

19                          MS. HALL:       But I -- but --     I know, Your

20          Honor.

21                          THE COURT:       And we are now beyond the

22          finish line here.        We're not talking about how the

23          race should have been run.           We're talking about what

24          happens after we've crossed the finish line.

25                          Okay.    Thank you.


                                       23
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 1                          MS. HALL:       Well, Your Honor, I do want to

 2          let you know I do have those documents here.                 Should

 3          we look at --       So you can look at those.

 4                          THE COURT:       I just looked at them, didn't

 5          I?

 6                          MS. HALL:       Well, yeah, but so you -- on

 7          the ones where it was redacted, you could look at the

 8          unredacted version so you can see.             I'm not redacting

 9          the initial complaint.           I'm giving Mr. Rudd the

10          entire complaint as he is asking for.

11                          THE COURT:       Okay.

12                          MS. HALL:       Thank you, Your Honor.

13                          THE COURT:       Thank you, Ms. Hall.       Mr.

14          Rudd, anything else?

15                          MR. DANIEL RUDD:         Yes, Your Honor.      I

16          would --     And I'll keep it brief.          I would just like

17          to note that whatever is on those initial documents,

18          that is not a personal record, it's not a Garrity

19          statement.      The officers wouldn't be writing Garrity

20          statements right on the official complaint which, by

21          the way, says Official Complaint.

22                          If there is any investigatory work on

23          there, it's probably the officer following up with

24          someone, asking questions.           In fact, I have a few

25          that are unredacted ones and there are no Garrity


                                       24
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 1          statements and I -- I don't think they'll testify

 2          that there are.

 3                          Any of the documents that are contemplated

 4          in the investigatory records of internal affair --

 5          affair files would not be written on that same form.

 6          And the -- those -- those full pages should be

 7          produced.

 8                          THE COURT:       All right.    Thanks.     Mr. Rudd,

 9          the pages that you --           Or Ms. Hall, excuse me.        The

10          pages you keep waving in front of me, are they in the

11          same order as the 37 that I have in this notebook

12          that you sent to me originally?

13                          MS. HALL:       It's going to depend on --         No,

14          because the six we picked, that's the first six, Your

15          Honor.     It would --      So the first one --

16                          THE COURT:       Well, okay.

17                          MS. HALL:       The first one would be --

18                          THE COURT:       Actually --

19                          MS. HALL:       I mean, I can --

20                          THE COURT:       Well, here's what we need to

21          do.

22                          MS. HALL:       The first --

23                          THE COURT:       You --   I asked you the wrong

24          question, because the thing is you -- the things

25          you've submitted to me a couple weeks ago were all


                                       25
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 1          redacted, so that would --

 2                          MS. HALL:       But I had sent you a copy of

 3          what I wanted you to have, what I produced to Rudd,

 4          just so there's no -- you know, I'm not trying to

 5          hide anything.

 6                          THE COURT:       Well, what we need to do is

 7          this.    You take a minute with my staff and show me

 8          where I find those 6 or 7 pages in the clean versions

 9          that I have in my 600 pages.

10                          MS. HALL:       And if --

11                          THE COURT:       All right.    Let me take a look

12          at those.

13                          MR. DANIEL RUDD:       Your -- Your Honor --

14                          MS. HALL:       Your Honor, if it was --

15                  (Whereupon, unintelligible conversation.)

16                          MS. HALL:       I was just thinking in terms of

17          quickness, I could show him in those books and --

18                          THE COURT:       Show who?

19                          MS. HALL:       You know, it was --       The Chief.

20          It was investigatory work, but if it's not --

21                          THE COURT:       Well, I think I'm

22          understanding your point a little better.                You're

23          saying that on some of those pages, we have both a

24          citizen complaint and a notation about investigatory

25          work?


                                       26
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 1                          MS. HALL:       Yes.

 2                          THE COURT:       Okay.     And Mr. Rudd is saying,

 3          well, that shouldn't have happened.              But you're

 4          saying, you know, I don't know if it should or

 5          shouldn't, but maybe it did.

 6                          MS. HALL:       It did.

 7                          THE COURT:       In a busy day, maybe somebody

 8          just kept going on the computer screen.                 Okay.   You

 9          show me --

10                          MS. HALL:       Okay.

11                          THE COURT:       -- the clean pages that match

12          the six that you have in your hand.              Okay?

13                          MS. HALL:       Yes.     I'll mark them for you in

14          --

15                          THE COURT:       And I'll take a look.

16                          MS. HALL:       -- your notebook.

17                          THE COURT:       Thank you.

18                         (Whereupon, proceedings recessed

19                          at 2:02:47 P.M.;          proceedings

20                          resumed at 2:27:57 P.M..)

21                          THE COURT:       Back to work.     We're handing

22          --    Let me say this, first.            I looked at the six or

23          seven pages in question.           I think Ms. Hall is correct

24          as to those pages.        There were some -- some

25          investigatory note made on each one of those pages.


                                       27
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 1          The redaction is valid.          Frankly, it's not that

 2          important a couple of times, but it is valid and so

 3          the documents, the thirty --

 4                          THE CLERK-BAILIFF:        Six.

 5                          THE COURT:      -- six pages that Mr. Gereaux

 6          has in his hands now comply with the Court order.                     So

 7          Ms. Hall, we're giving you back your 36 pages.                  Mr.

 8          Rudd, we're giving you your 36 pages.               And we've

 9          retained an electronic copy for our records.

10                          Now, what else must we do today?            Mr.

11          Rudd?

12                          MR. DANIEL RUDD:       Thank you, Your Honor.

13          And I -- I do appreciate receiving these records.

14          The FOIA statute was updated in 2015 with stronger

15          penalties for recalcitrant public bodies who apply

16          various forms of arbitrary or capricious behaviors,

17          which could be defined in lots of ways.               Public body

18          wants --

19                          THE COURT:      So this is a -- a basis for an

20          assessment of sanctions independent from the contempt

21          statutes?

22                          MR. DANIEL RUDD:       Yes.      And interestingly

23          enough, the FOIA statute's sanction run right up to

24          the amount for contempt under the contempt statute.

25          And the FOIA statute also includes wording, it says:


                                       28
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 1          Failure to comply with an order of the court may be

 2          punished as contempt of court, which is kind of one

 3          of those phrases like on a PPO that says so and so

 4          won't beat or assault or kill somebody.               Well, of

 5          course they won't.        That's terrible.        And of course

 6          everybody has to obey court orders.

 7                          But the FOIA includes that, I believe, not

 8          for no reason.       It's not surplusage.         It's because

 9          there needs to be a quick remedy to stop this from

10          happening.

11                          Some things that I just would really love

12          to clarify, and I can do it very fast.

13                          THE COURT:       Let me ask you this.       Now

14          maybe I missed it.        Is this --       Is that issue

15          contained in your briefing for today, the FOIA

16          assessment issue?

17                          MR. DANIEL RUDD:         I --   Actually, I'm not

18          sure if it is.

19                          THE COURT:       Ms. Hall, have you seen it?

20                          MS. HALL:       No, Your Honor.

21                          THE COURT:       So I'm guessing you're not

22          prepared to discuss this issue today, are you?

23                          MS. HALL:       It's not in the motion, no.

24                          THE COURT:       Okay.    I don't know that I

25          have an answer for you on that one, Mr. Rudd.


                                       29
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 1                          MR. DANIEL RUDD:       Well, I --

 2                          THE COURT:      Go ahead.

 3                          MR. DANIEL RUDD:       I -- I think if --         If I

 4          don't know it's not in the pleading, it's probably

 5          not.     They probably not were put on notice to get to

 6          that phase.      I guess what I would love is some kind

 7          of finding, though.         Because the way this unfolded,

 8          like I was describing, it goes all the way to the

 9          Supreme Court and back again, 53 days from the time

10          this disclosure order was entered until today and it

11          was --     When the records were finally disclosed after

12          all that effort, which was substantial, if there we

13          -- if there was a real attorney here, I -- I think

14          we'd be in the 30 to $40,000 range, after all that

15          effort.

16                          THE COURT:      Well, we do have one real

17          attorney here.

18                          MR. DANIEL RUDD:       Oh.

19                          THE COURT:      She's for the --       She's on the

20          other side.

21                          MR. DANIEL RUDD:       I meant if there's a

22          real attorney here (indicating).             And you're a real

23          attorney, too, Your Honor.

24                          But the -- the point is once those records

25          were finally compelled to be disclosed, they came not


                                       30
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 1          just with redactions of citizen names but with

 2          redactions of officers' names and even redactions of

 3          intermediary officers, like now we can't even see who

 4          it was that was bringing this.

 5                          And I immediately brought this to the

 6          attention of opposing counsel.            They didn't say to

 7          me:    Well, we're filing an emergency motion to seek

 8          clarification in court.          They could have done that

 9          through the whole process.           So there's a public

10          policy question is why wouldn't any public body hedge

11          their bets by throwing out the broadest possible

12          exemption that you ever could and just tenaciously

13          stay on it while the circuit court and the plaintiff

14          keep saying no, no, you've got to separate exempt

15          from non-exempt and we say that's not really what

16          Newark stands for, and we say look at Evening News,

17          and we fight it all the way to -- all of this urging

18          to separate exempt from non-exempt.

19                          The public body had an obligation from the

20          start that they owe this duty to the people not to

21          care --

22                          THE COURT:      Mr. Rudd, respectfully, I

23          don't think that issue is teed up for action today.

24                          MR. DANIEL RUDD:       Okay.     Well, I'm just

25          saying, I want -- I'm hopeful we'll get a ruling --


                                       31
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 1                          THE COURT:       Well, and that's --

 2                          MR. DANIEL RUDD:       -- since the City didn't

 3          --

 4                          THE COURT:       And I --     This is a little bit

 5          like getting pregnant, I think.             I don't think that

 6          issue is teed up for ruling today and I -- I think I

 7          -- if I accept your -- your question -- make a

 8          finding of that, I think I've stepped into that.

 9          This is an issue that I don't think I can do it a

10          little bit.

11                          Okay.    Now, what else do you think we

12          should do today, then, that's -- I mean, anything

13          else?

14                          MR. DANIEL RUDD:       No, Your Honor.        If I

15          would be permitted to, you know, file or brief the

16          issue if I want to, you know, notice it for that,

17          then I think that's good and I -- I don't --                 If the

18          City is purged of their contempt, then there's --                    I

19          didn't want to see anybody spend time in jail,

20          anyway.     I think --

21                          THE COURT:       All right.

22                          MR. DANIEL RUDD:       I think that's it.

23                          THE COURT:       Ms. Hall, what else do we need

24          to do today?

25                          MS. HALL:       Not that I'm trying to raise


                                       32
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 1          any issues for Mr. Rudd, but there was one more issue

 2          in his motion that I think we should address because

 3          I don't want to have to come back -- I don't want

 4          there to be any claim that I'm trying to hide

 5          anything further.

 6                          One other claim he made in his motion, if

 7          I'm correct, was one of the complaints we had

 8          referenced an attachment and I didn't redact that.                     I

 9          mean, he saw that there was an attachment attached to

10          the complaint.       I -- I just don't want there to be

11          any claim here, Your Honor, that the City left

12          anything here and I -- I want to address this.

13          That --

14                          THE COURT:       Is that still an issue, Mr.

15          Rudd?

16                          MR. DANIEL RUDD:        Yes.

17                          MS. HALL:       Yes.

18                          THE COURT:       So what's the item?

19                          MS. HALL:       So the item --     Do you have --

20          The complaint number is --             I address it --     One

21          second.     I just don't want --          So one of them was he

22          was missing the citizen complaint in 2014, Your

23          Honor.     That issue was not an issue --            One of his

24          claims was we didn't turn over one of the complaints

25          in 2014, according to the --


                                       33
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 1                          THE COURT:       It was 2014?

 2                          MS. HALL:       Yeah, according to the CALEA

 3          records.     We don't have one.           I pointed the Court's

 4          attention to the --

 5                          THE COURT:       Okay.

 6                          MS. HALL:       -- index I provided you wasn't

 7          in file so there --

 8                          THE COURT:       So you're saying that there is

 9          no 2014 --

10                          MS. HALL:       There is no 2014.

11                          THE COURT:       -- dash 11?

12                          MS. HALL:       Yes, Your Honor.

13                          THE COURT:       It was a clerical mistake?

14                          MS. HALL:       I don't know if --      It's just

15          not in the file, yes.

16                          THE COURT:       Well, let's have the Chief

17          verify that, can we?

18                          MS. HALL:       Yes, Your Honor.

19                          THE COURT:       Chief, would you raise your

20          right hand, please?         Do you swear or affirm that the

21          testimony you're about to give will be the truth, the

22          whole truth, and nothing but the truth, so help you

23          God?

24                          CHIEF JON GALE:          I do.

25


                                       34
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 1                           C H I E F       J O N      G A L E,

 2          after having been duly administered an oath, was

 3          examined and testified as follows:

 4                          THE COURT:      You understand the issue about

 5          so-called Exhibit 2014-11?

 6                          CHIEF JON GALE:         I do, Your Honor.

 7                          THE COURT:      Ms. Hall is essentially saying

 8          that apparently it never existed?

 9                          CHIEF JON GALE:         Well, it was the previous

10          chief's files.       I wasn't --

11                          THE COURT:      Okay.

12                          CHIEF JON GALE:         -- a chief at that time,

13          so I had no --

14                          THE COURT:      Fair enough.

15                          CHIEF JON GALE:         -- I have no recollection

16          of what would be in there, what wouldn't.                But what

17          we produced is what was in the file.

18                          THE COURT:      Okay.     So in -- in response to

19          this litigation --        You're the chief.         Right?

20                          CHIEF JON GALE:         Yes, sir.

21                          THE COURT:      So I mean, you're probably the

22          guy holding the bucket on all the records, I think.

23          So responding to this litigation, you went back,

24          checked in the files for 2014.             You could not find

25          anything you called 2014-11?


                                       35
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 1                          CHIEF JON GALE:          That's correct, Your

 2          Honor.

 3                          THE COURT:       All right.

 4                          MR. DANIEL RUDD:          Could we clarify for the

 5          record that means anything, not even like a file, a

 6          disposition, anything at all?

 7                          MS. HALL:       That's not what --

 8                          MR. DANIEL RUDD:          There's just no file at

 9          all?

10                          MS. HALL:       The -- the Judge has our

11          response for what was in the file.

12                          MR. DANIEL RUDD:          Because the remaining --

13          the remaining --

14                          THE COURT:       So --     Well, let me take a

15          look.

16                          MS. HALL:       There's one --     I think there's

17          one sheet, Your Honor, I produced to you.                I don't

18          have my index here.

19                          CHIEF JON GALE:          The sheet that --

20                         (Whereupon, proceeding recessed

21                           at 2:31:45 P.M.;          proceedings

22                           resumed at 2:39:45 P.M..)

23                          THE COURT:       All right.     When I -- when I

24          look at the exhibit -- or the index, excuse me,

25          submitted by Ms. Hall, she identifies 2014-11.                 She


                                       36
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 1          says:    Not in the file.         She says non-exempt per

 2          (unintelligible) May 3, 2018, order, which is good

 3          news because that means the City is not contesting

 4          it.     But her point is that the one-page document in

 5          here that says 2014-11 is not a citizen complaint.

 6          It's former Chief Shaw's response to somebody who

 7          apparently called in a complaint.

 8                          MS. HALL:       Who was a citizen, yes.

 9                          THE COURT:       Who was a citizen.

10                          MS. HALL:       Yes, Your Honor.

11                          THE COURT:       All right.     So a minute ago,

12          the Chief said it didn't exist.              I guess you meant

13          the citizen complaint didn't exist, but this one-page

14          letter obviously does.

15                          CHIEF JON GALE:          That's correct, Your

16          Honor.

17                          THE COURT:       Okay.     Ms. Hall, let me --         So

18          you've got it in front of you.              Right?

19                          MS. HALL:       No.   I was looking at yours.

20                          THE COURT:       Okay.     Well, I'm just

21          wondering is -- that seems sort of innocuous.                 Is it

22          worth fighting about?           I think technically you're

23          right, it's not a -- quote:              citizen complaint.

24                          MS. HALL:       Well, we had an order saying --

25                          THE COURT:       It recites sort of what


                                       37
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 1          apparently the call-in complaint was and how the City

 2          handled it.      I don't see it implicating any of our

 3          concerns here.

 4                      (Whereupon, inaudible conversation.)

 5                          MS. HALL:       I just exempted it, Your Honor,

 6          because the order said that everything other than --

 7                          THE COURT:       Okay.

 8                          MS. HALL:       -- the citizen complaints was,

 9          so that's why.

10                          THE COURT:       I understand your point.         It's

11          not technically a citizen complaint.              But I think as

12          long as we're here, let's go ahead and deliver it to

13          Mr. Rudd and it completes the --

14                          MS. HALL:       It's with the -- with the

15          understanding that this isn't opening Pandora's box

16          to getting other stuff on this.             You know what I

17          mean?    Because if I'm turning this over, could he --

18          could we be back turning over other information?

19          That's my only concern.

20                          THE COURT:       I understand.     I think we'll

21          take our chances on that one.             That looks like a

22          pretty quick won-and-done situation.

23                          MS. HALL:       Okay.    Your Honor, I will.

24                          THE COURT:       You'll get a copy.

25                          MS. HALL:       This is your copy, so --


                                       38
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 1                          THE COURT:       Okay.     So that takes care of

 2          that.    Ms. Hall, anything else that we need to do

 3          today?

 4                          MS. HALL:       Well, there's one more issue he

 5          raised and so I think the Court can address it so

 6          that we can get clarification.              Looks like IA-201408.

 7          His --     The initial complaint I gave him references a

 8          memo.

 9                          THE COURT:       201408?

10                          MS. HALL:       Yep.

11                          THE COURT:       All right.     Just a minute.

12          Okay.

13                          MS. HALL:       In that citizen complaint, Your

14          Honor, there is referenced an attached --

15                          THE COURT:       201408.     Right?

16                          MS. HALL:       Yes, Your Honor.

17                          THE COURT:       Okay.

18                          MS. HALL:       There --

19                          THE COURT:       Actually, the complainant came

20          from another -- a different -- an officer from a

21          different department.           Right?

22                          MS. HALL:       Yeah.    Well, it actually came

23          from, yes, an officer --

24                          THE COURT:       Okay.

25                          MS. HALL:       -- about the person that's then


                                       39
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 1          listed as the complainant.           She made the complaint to

 2          the chief.      I really --       This is my -- my --        She

 3          made the initial complaint and so the initial

 4          complaint is the document I provided Mr. Rudd as the

 5          court ordered.       But in investigation, they received

 6          the memo that the state -- the officer made a

 7          statement to the person making this complainant and

 8          that went into the file, but it is referenced in part

 9          of the complaint that was typed up, but it wasn't a

10          part of the initial complaint, through my discussions

11          with the City, so it was not provided.

12                          I have it here today unredacted if the

13          Court wants to order it is a part of the complaint.

14          Our position was it is not, Your Honor.               But I --

15                          THE COURT:       Well, do I already have it?

16                          MS. HALL:       You know, you probably do

17          because it would be the statement of --               It's listed

18          on there as statement from sergeant.

19                          THE COURT:       Okay.    Let me see it.

20                          MS. HALL:       May I approach?     And I think

21          this is the final issue, but I just want to make sure

22          we get everything resolved.

23                          MR. DANIEL RUDD:         At this time, I'd like

24          to state a position on that.

25                          THE COURT:       I'm sorry?


                                       40
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 1                          MR. DANIEL RUDD:        If there's time, I'd

 2          like to also state a position on that particular --

 3          If there's time, I would like to state a position on

 4          that, as well, that particular record.

 5                          THE COURT:      This one?

 6                          MR. DANIEL RUDD:        Yes.

 7                          THE COURT:      Okay.

 8                          MR. DANIEL RUDD:        What I understand the

 9          situation to be is these are two law enforcement

10          officers from separate agencies which the Court

11          specifically said, you know, would be exempted and

12          they did, you know, provide the official form here.

13          But what you essentially have are two chiefs doing a

14          go-between and he's presenting the memo, which is the

15          complaint, and the -- the portion provided here says

16          that it's attached.         Typically in a FOIA suit,

17          attachments to e-mails are considered part of the

18          e-mails.     That is the true nature of the complaint

19          from the person who originated it.

20                          THE COURT:      All right.

21                          MR. DANIEL RUDD:        There was a heated

22          exchange.      They probably didn't want these two

23          officers --

24                          THE COURT:      This goes back to which one,

25          Ms. Hall?      2014 what?


                                       41
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 1                          MS. HALL:       I'm sorry.    08.

 2                          THE COURT:       Thank you.    What's been given

 3          to Mr. Rudd so far is just the first page?

 4                          MS. HALL:       The initial complaint, yep.

 5                          THE COURT:       All right.    Mr. Rudd, what I'm

 6          looking at is a memo from an officer from a different

 7          department to his chief at that different department.

 8          So by definition then it wouldn't be a complaint

 9          against the City, so it looks to me like it would be

10          exempt.

11                          All right.       Ms. Hall, anything else?

12                          MS. HALL:       That is it, Your Honor --

13                          THE COURT:       Okay.

14                          MS. HALL:       -- on his motion, I believe.

15          Right?     Those were the last two issues that --

16                          Oh, you -- you had some claims that I

17          redacted case numbers.           If the case numbers are on a

18          word -- on the documents I provided, it's only

19          because they weren't on the documents when we got

20          them, so I didn't manipulate documents and write case

21          numbers in.      One of his allegations in the motion --

22                          THE COURT:       Well, then let him speak to

23          that.

24                          MS. HALL:       All right.

25                          THE COURT:       Are we all done, Mr. Rudd?


                                       42
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 1                          MR. DANIEL RUDD:        I think we're done for

 2          today.

 3                          THE COURT:      Okay.    All right.     Now, let me

 4          say a couple of things to wrap things up.                I'll do an

 5          order about today's events.             Now that we have a

 6          motion for an order to show cause, we need some order

 7          that resolves it.        It probably won't get into the

 8          details of the exchange of documents we talked about

 9          here in the last 20 minutes or so, but it will

10          hopefully be an order which closes, end quote, the

11          file.

12                          Now given the way today worked out, it

13          doesn't necessarily dispel some frustration with the

14          way the City has handled it, but the City has

15          complied as of today so I don't think there's a basis

16          for a civil contempt order to coerce future

17          compliance because we have compliance today.

18                          As to the criminal contempt issue, we're

19          even further from the finish line there, to stay with

20          a metaphor I used quite awhile ago.              Criminal

21          contempt involves all the things that we talked to

22          Ms. Hall about some time ago.             Frankly, even the

23          subject matter of this, while a bit frustrating to

24          me, wouldn't give rise to a criminal contempt

25          sanction.      Criminal contempt is typically seen in


                                       43
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 1          situations of very direct, flagrant noncompliance

 2          with the court order, such as a parent who refuses to

 3          abide by a court order relating to parenting time

 4          with his or her child and things like that, so I

 5          don't see -- even if we were to develop this a bit

 6          more, that this would be a criminal contempt issue,

 7          either.

 8                          So the Court's concluding its work without

 9          any finding of contempt.           And that tepid language

10          will probably be used in our order.              Now that order

11          will also say, I think, this is a final order which

12          closes the case, although I think we've done -- done

13          that at least once here already.

14                          Now Mr. Rudd, I will say to you that if

15          you're seeking sanctions pursuant to a statute, like

16          FOIA, akin to what we do in the civil rights

17          litigation or Consumer Protection Act litigation,

18          those are all things that are raised after the trial,

19          after the judgement.         So once I got my order in, you

20          know, I think if your position and -- and legally

21          supported by the law that allows you to do that, then

22          go ahead.      But I think a contempt door is closed as

23          of today.

24                          Ms. Hall, anything else?

25                          MS. HALL:       No, Your Honor.


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 1                          THE COURT:       Okay.    Thank you very much.

 2          Have a good weekend.

 3                          MR. DANIEL RUDD:         Thank you, Your Honor.

 4                        (Whereupon, proceedings concluded

 5                          at 2:48:30 P.M..)

 6                                          --ooOoo--

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 1

 2

 3          STATE OF MICHIGAN       )
                                    )   ss.
 4          COUNTY OF MUSKEGON      )

 5

 6                          I, certify that this transcript, consisting of

 7          46 pages is a complete, true, and correct transcript of the

 8          videotaped proceedings and testimony taken in DANIEL W.

 9          RUDD versus CITY OF NORTON SHORES, File No. 17-004334-CZ on

10          June 29, 2018, Videotaped.

11          **Please note proper names and/or case names unknown to

12          this reporter are spelled phonetically and may not be

13          correct.

14

15

16

17

18                                         _________________________________
                                           Michelle M. McKee, CSR-3841
19                                         Certified Shorthand Reporter

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